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                     EXHIBIT A
Case 2:22-cv-00203-JRG-RSP Document 80-2 Filed 05/19/23 Page 2 of 8 PageID #: 3467
     Trials@uspto.gov                                                  Paper 7
     571-272-7822                                         Date: March 17, 2023


             UNITED STATES PATENT AND TRADEMARK OFFICE


              BEFORE THE PATENT TRIAL AND APPEAL BOARD


          MICRON TECHNOLOGY, INC., MICRON SEMICONDUCTOR
          PRODUCTS, INC., and MICRON TECHNOLOGY TEXAS LLC,
                                Petitioner,

                                         v.
                                  NETLIST, INC.,
                                   Patent Owner.


                                 IPR2023-00205
                               Patent 10,860,506 B2



     Before PATRICK M. BOUCHER, JON M. JURGOVAN, and
     DANIEL J. GALLIGAN, Administrative Patent Judges.
     GALLIGAN, Administrative Patent Judge.



                                     DECISION
                     Granting Institution of Inter Partes Review
                                   35 U.S.C. § 314
                            Granting Motion for Joinder
                      35 U.S.C. § 315(c); 37 C.F.R. § 42.122
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     Patent 10,860,506 B2
                                   I.   DISCUSSION
           Inter partes review of U.S. Patent 10,860,506 B2 (“’506 patent”) was
     instituted in IPR2022-00711 (“711 IPR”) based on a petition filed by
     Samsung Electronics Co., Ltd. (“Samsung”). 711 IPR, Papers 1, 14. In this
     proceeding, Micron Technology, Inc., Micron Semiconductor Products, Inc.,
     and Micron Technology Texas LLC (collectively “Petitioner”) concurrently
     filed a Petition (Paper 3) and a Motion for Joinder (Paper 2) seeking to be
     joined as a petitioner in the 711 IPR. Petitioner represents that Samsung, the
     petitioner in the 711 IPR, does not oppose joinder. Motion 2. Patent Owner
     did not file an opposition to the Motion.
           The statute governing inter partes review joinder states the following:
           JOINDER.—If the Director institutes an inter partes review, the
           Director, in his or her discretion, may join as a party to that inter
           partes review any person who properly files a petition under
           section 311 that the Director, after receiving a preliminary
           response under section 313 or the expiration of the time for filing
           such a response, determines warrants the institution of an inter
           parties review under section 314.
     35 U.S.C. § 315(c).
           The time for filing a preliminary response to the Petition has expired,
     and Patent Owner did not file one. See 37 C.F.R. 42.107(b) (“The
     preliminary response must be filed no later than three months after the date
     of a notice indicating that the request to institute an inter partes review has
     been granted a filing date.”); Paper 4 (filing date notice entered on
     December 9, 2022).
           The standard for instituting an inter partes review is set forth in
     35 U.S.C. § 314(a), which provides that an inter partes review may not be
     instituted unless the information presented in the Petition and the
     Preliminary Response shows “there is a reasonable likelihood that the


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     petitioner would prevail with respect to at least 1 of the claims challenged in
     the petition.”
             The patentability challenges in the 711 IPR met the “reasonable
     likelihood” standard of § 314(a). 711 IPR, Paper 14 at 34. Petitioner
     represents that the Petition “is substantively identical to” the petition in the
     711 IPR. Motion 1. Petitioner presents the following grounds in this
     Petition, which are identical to the instituted grounds in the 711 IPR:
               Claim(s)
                                    35 U.S.C. §          Reference(s)/Basis
             Challenged
         1, 2, 4, 6, 7, 11, 13–
                                  103(a)1         Hiraishi,2 Butt 3
               15, 17, 18
              3, 5, 12, 16        103(a)          Hiraishi, Butt, Ellsberry 4
             8–10, 19, 20         103(a)          Hiraishi, Butt, Kim5
         1, 2, 4, 6, 7, 11, 13–
                                  103(a)          Hiraishi, Butt, Tokuhiro6
               15, 17, 18
                                                  Hiraishi, Butt, Tokuhiro,
             3, 5, 12, 16         103(a)
                                                  Ellsberry
             8–10, 19, 20         103(a)          Hiraishi, Butt, Tokuhiro, Kim
     Pet. 1; see 711 IPR, Paper 14 at 7, 34 (identifying same grounds and
     instituting inter partes review).
             We determine that Petitioner has demonstrated a reasonable likelihood
     of prevailing with respect to at least one challenged claim of the ’506 patent


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       The Leahy-Smith America Invents Act (“AIA”), Pub. L. No. 112-29, 125
     Stat. 284, 287–88 (2011), amended 35 U.S.C. § 103 and became effective
     March 16, 2013. For this proceeding, Petitioner assumes that the ’506 patent
     has an effective priority date before this date (Pet. 2) and applies the
     pre-AIA version of § 103.
     2
       US 2010/0312956 A1, published Dec. 9, 2010 (Ex. 1005).
     3
       US 2007/0008791 A1, published Jan. 11, 2007 (Ex. 1029).
     4
       US 2006/0277355 A1, published Dec. 7, 2006 (Ex. 1007).
     5
       US 6,184,701 B1, issued Feb. 6, 2001 (Ex. 1008).
     6
       US 8,020,022 B2, issued Sept. 13, 2011 (Ex. 1006).

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     for the reasons given in the institution decision in the 711 IPR and that the
     Petition warrants institution. See 711 IPR, Paper 14 at 10–34.
           As discussed above, Petitioner’s Motion is unopposed by Samsung
     and Patent Owner. We have reviewed the Motion, and we determine that
     it is appropriate under these circumstances to join Petitioner as a party to the
     711 IPR.


                                      II. ORDER
           Accordingly, it is
           ORDERED that, pursuant to 35 U.S.C. § 314(a) and 37 C.F.R. § 42.4,
     an inter partes review is hereby instituted on the challenges raised in the
     Petition;
           FURTHER ORDERED that Petitioner’s Motion for Joinder with
     IPR2022-00711 is granted, and Petitioner is hereby joined as a petitioner in
     IPR2022-00711;
           FURTHER ORDERED that the grounds on which trial in
     IPR2022-00711 were instituted are unchanged, and no other grounds are
     added in IPR2022-00711;
           FURTHER ORDERED that the Scheduling Order entered in
     IPR2022-00711 (Paper 15) and the Parties’ stipulation to modify Dates 1, 2,
     and 3 (Paper 17) shall govern the trial schedule in IPR2022-00711;
           FURTHER ORDERED that Petitioner’s role in IPR2022-00711 shall
     be limited as stated by Petitioner in the Motion for Joinder (Paper 3 at 6–9)
     unless and until Samsung is terminated from that proceeding;
           FURTHER ORDERED that the case caption in IPR2022-00711 shall
     be changed to reflect joinder of Petitioner in accordance with the attached
     example;

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           FURTHER ORDERED that a copy of this Decision be entered into
     the record of IPR2022-00711; and
           FURTHER ORDERED that all further filings shall be made in
     IPR2022-00711.




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     IPR2023-00205
     Patent 10,860,506 B2
     PETITIONER:

     Matthew A. Hopkins
     WINSTON & STRAWN LLP
     mhopkins@winston.com

     PATENT OWNER:

     Hong Annita Zhong
     Jonathan M. Lindsay
     IRELL & MANELLA LLP
     NetlistIPR@irell.com
     hzhong@irell.com
     jlindsay@irell.com




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             UNITED STATES PATENT AND TRADEMARK OFFICE


              BEFORE THE PATENT TRIAL AND APPEAL BOARD


      SAMSUNG ELECTRONICS CO., LTD, MICRON TECHNOLOGY, INC.,
            MICRON SEMICONDUCTOR PRODUCTS, INC., and
                MICRON TECHNOLOGY TEXAS LLC, 7
                            Petitioner,

                                         v.
                                  NETLIST, INC.,
                                   Patent Owner.


                                 IPR2022-00711
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       Micron Technology, Inc., Micron Semiconductor Products, Inc., and
     Micron Technology Texas LLC filed a motion for joinder and a petition in
     IPR2023-00205 and have been joined as petitioners in this proceeding.
